              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION


UNITED STATES OF AMERICA,
           Plaintiff,                         No. CR02-4109-DEO
vs.                                  ORDER REGARDING MOTION FOR
                                     SENTENCE REDUCTION PURSUANT
RAYMOND LEE STELTENPOHL,
                                                  TO
           Defendant.                   18 U.S.C. § 3582(c)(2)

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      This matter comes before the court on its own motion

under 18 U.S.C. § 3582(c)(2).1

      The United States Sentencing Commission recently revised

the United States Sentencing Guidelines (“USSG”) applicable to

drug trafficking offenses by changing how the base offense



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        In light of the record, the court concludes that it
need not appoint counsel or conduct a hearing. See United
States v. Harris, 568 F.3d 666, 669 (8th Cir. 2009)
(concluding that there is no right to assistance of counsel
when pursuing relief under 18 U.S.C. § 3582(c) and finding
that a judge need not hold a hearing on a motion pursuant to
18 U.S.C. § 3582(c)); see also United States v. Burrell, 622
F.3d 961, 966 (8th Cir. 2010) (clarifying that “[a]ll that is
required is enough explanation of the court’s reasoning to
allow for meaningful appellate review”); Fed. R. Crim. P.
43(b)(4) (stating that a defendant’s presence is not required
in a proceeding that involves the reduction of a sentence
under 18 U.S.C. § 3582(c)).


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levels in the drug quantity tables incorporate the statutory

mandatory minimum penalties for such offenses.            Specifically,

Amendment 782 (subject to subsection (e)(1)) generally reduces

by two levels the offense levels assigned to the quantities

that trigger the statutory mandatory minimum penalties in USSG

§2D1.1 and made parallel changes to USSG §2D1.11.                  Because

Amendment    782    (subject   to   subsection   (e)(1))       alters   the

threshold amounts in the drug quantity tables in USSG §2D1.1

and USSG §2D1.11, many, but not all, drug quantities will have

a base offense level that is two levels lower than before

Amendment 782 (subject to subsection (e)(1)).

      The   court   is   statutorily    precluded    from      applying       a

federal sentencing guideline amendment retroactively unless

the   United    States    Sentencing    Commission      designates           an

amendment for retroactive application.           In relevant part, 18

U.S.C. § 3582 provides:

            The court may not modify a term of
            imprisonment once it has been imposed
            except that . . . in the case of a
            defendant who has been sentenced to a term
            of imprisonment based on a sentencing range
            that has subsequently been lowered by the
            Sentencing Commission pursuant to 28 U.S.C.
            [§] 994(o), upon motion of the defendant or
            the Director of the Bureau of Prisons, or
            on its own motion, the court may reduce the

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              term of imprisonment, after considering the
              factors set forth in [18 U.S.C. §] 3553(a)
              to the extent that they are applicable, if
              such a reduction is consistent with
              applicable policy statements issued by the
              Sentencing Commission.

18 U.S.C. § 3582(c)(2); see also Dillon v. United States, 560

U.S. 817, 826 (2010) (“Section 3582(c)(2)’s text, together

with    its    narrow   scope,   shows   that   Congress         intended       to

authorize only a limited adjustment to an otherwise final

sentence and not a plenary resentencing proceeding.”); United

States v. Auman, 8 F.3d 1268, 1271 (8th Cir. 1993) (“Section

3582(c)(2) is a provision that permits a district court to

reduce a term of imprisonment if the sentencing range upon

which the term was based is subsequently lowered by the

Sentencing Commission.”).

       The United States Sentencing Commission promulgated USSG

§1.B1.10 to implement 28 U.S.C. § 994(u) and to provide

guidance to a court when considering a motion under 18 U.S.C.

§ 3582(c)(2).      In relevant part, USSG §1B1.10 states:

              In a case in which a defendant is serving
              a term of imprisonment, and the guideline
              range applicable to that defendant has
              subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed
              in subsection (d) below, the court may


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           reduce the defendant’s term of imprisonment
           as provided by 18 U.S.C. § 3582(c)(2). As
           required by 18 U.S.C. § 3582(c)(2), any
           such reduction in the defendant’s term of
           imprisonment shall be consistent with this
           policy statement.

USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1)

(“Eligibility for consideration under 18 U.S.C. § 3582(c)(2)

is triggered only by an amendment listed in subsection (d)

that lowers the applicable guideline range . . . .”).                            In

addition to specifying which federal sentencing guidelines may

be retroactively applied, USSG §1B1.10 guides the court as to

the amount by which a sentence may be reduced under 18 U.S.C.

§ 3582(c)(2).    See USSG §1B1.10(b)(1).

    On July 18, 2014, the United States Sentencing Commission

unanimously     voted    to    apply       Amendment   782    (subject           to

subsection (e)(1)) retroactively to most drug trafficking

offenses, and it set November 1, 2014, as the date that

Amendment 782 (subject to subsection (e)(1)) would go into

effect.     Stated      differently,       Amendment    782       (subject       to

subsection (e)(1)) is included within subsection (d) of USSG

§1B1.10.   Consequently, under 18 U.S.C. § 3582(c)(2) and USSG

§1B1.10, the court may rely on Amendment 782 (subject to



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subsection (e)(1)) to reduce a defendant’s sentence.                   But,

even if Amendment 782 (subject to subsection (e)(1)) is

applicable, a special limiting instruction applies:                    “The

court shall not order a reduced term of imprisonment based on

Amendment 782 unless the effective date of the court’s order

is November 1, 2015, or later.”        USSG §1B1.10(e)(1); see also

Amendment 788 (amending USSG §1B1.10).

    Here, the court is unable to rely on Amendment 782

(subject to subsection (e)(1)) to reduce the defendant’s

sentence under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10.                 See

generally United States v. Curry, 584 F.3d 1102, 1104 (8th

Cir. 2009) (discussing United States v. Wyatt, 115 F.3d 606,

608-09 (8th Cir. 1997)) (explaining requirements under USSG

§1B1.10(b)).    Because the court sentenced the defendant as a

career offender, see USSG §4B1.1, Amendment 782 (subject to

subsection (e)(1)) does not impact the defendant’s guideline

range.   Therefore, a sentence reduction is not available to

the defendant.     See United States v. Reeves, 717 F.3d 647,

649-50 (8th Cir. 2013) (discussing eligibility for a reduced

sentence in light of career offender status); United States v.

Harris, 688 F.3d 950, 953 (8th Cir. 2012) (explaining current

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precedent for those sentenced under USSG §4B1.1); United

States v. Washington, 618 F.3d 869, 872-73 (8th Cir. 2010)

(concluding that relief is unavailable where amendment does

not have the effect of lowering the sentencing range); United

States   v.    Collier,   581   F.3d    755,    758    (8th      Cir.   2009)

(reiterating that relief under 18 U.S.C. § 3582(c)(2) is not

available to defendants who were sentenced under the career

offender provisions of the sentencing guidelines); United

States v. Clay, 524 F.3d 877, 878 (8th Cir. 2008) (“[A

defendant] is . . . not eligible for a sentence reduction . .

. [if] his sentencing range was determined by the career

offender provision in USSG §4B1.1.”); United States v. Tingle,

524   F.3d    839,   840 (8th   Cir.    2008)   (concluding        that   the

defendant could not rely on 18 U.S.C. § 3582(c)(2) to reduce

his sentence because the defendant’s status as a career

offender under USSG §4B1.1 determined the guideline range,

rather than the amount of drugs under USSG §2D1.1).

      In light of the foregoing, the court concludes that a

reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not

justified.      Accordingly, the court’s own motion under 18

U.S.C. § 3582(c)(2) is denied. The clerk’s office is directed


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to send a copy of this order to the defendant (Reg. No. 02561-

029),2 the office of the Federal Public Defender, the office

of the United States Attorney and the office of United States

Probation.

    IT IS SO ORDERED this 7th day of July, 2015.


                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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      The Court has also submitted for filing with this Order
a letter written to the Defendant. This letter should also be
mailed to the Defendant with a copy of this Order.

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